                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA




 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1-09-CR-95
 v.                                                    )
                                                       )       COLLIER / LEE
 MICHELLE FRYE                                         )


                                             ORDER


        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the sixty-nine-count

 Indictment (2) accept Defendant’s plea of guilty to the charge in Count One, that is of conspiracy

 to manufacture, distribute and possess with intent to distribute 500 grams or more of a mixture and

 substance containing a detectable amount of methamphetamine in violation of 21 U.S.C. §§ 846,

 841(a)(1), and 841(b)(1)(A); (3) adjudicate Defendant guilty of the charge in Count One, that is of

 conspiracy to manufacture, distribute and possess with intent to distribute 500 grams or more of a

 mixture and substance containing a detectable amount of methamphetamine in violation of 21 U.S.C.

 §§ 846, 841(a)(1), and 841(b)(1)(A); (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter [Doc.

 167]. Neither party filed a timely objection to the report and recommendation. After reviewing the

 record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the

 Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 167]

 pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:



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       (1)   Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

             is GRANTED;

       (2)   Defendant’s plea of guilty to the charge in Count One, that is of conspiracy to

             manufacture, distribute and possess with intent to distribute 500 grams or more of

             a mixture and substance containing a detectable amount of methamphetamine in

             violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the charge in Count One, that is of

             conspiracy to manufacture, distribute and possess with intent to distribute 500 grams

             or more of a mixture and substance containing a detectable amount of

             methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, January 7, 2010 at 9:00 a.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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